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    STATE OF COLORADO, ss:

            I,      Cheryl Stevens , Clerk of the Supreme Court of t h e S t a t e
    o f Colorado, do hereby certify that
                           Alec Paul Harris


 has been duly licensed and admitted to practice as an


      ATTORNEY AND COUNSELOR AT LAW

 within this State; and that his/her name ap pears upon the Roll of Attorneys

  a nd Counselors at Law in my office of date the                    3rd

 day of     November                            A.D.      2014      and that at the date hereof

 the said        Alec Paul Harris                is in good standing a t this Bar.


                               IN WITNESS WHEREOF, I have hereunto subscribed my name and
                               affixed the Seal of said Supreme Court, at Denver, in said State, this

                                     3rd        day of           August                    A.D.   2022
